       Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 1 of 12




                     UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF IDAHO


 PLANNED PARENTHOOD OF THE
 GREAT NORTHWEST AND THE
 HAWAIIAN ISLANDS, a                      Case No. 1:18-CV-00555-BLW
 Washington corporation; MARY
 STARK, on behalf of herself and her
 patients,                                ORDER RE: MOTION TO
                                          COMPEL DISCOVERY (DKT
       Plaintiffs,                        78); MOTION TO AMEND
                                          SCHEDULING ORDER (DKT 79);
        v.                                MOTION TO AMEND
                                          STIPULATED PROTECTIVE
 LAWRENCE G. WASDEN, in his               ORDER (DKT 80)
 official capacity as Attorney General
 of Idaho; JAN M. BENNETTS, in her
 official capacity as Ada County
 Prosecuting Attorney; GRANT P.
 LOEBS, in his official capacity as
 Twin Falls County Prosecuting
 Attorney; THE INDIVIDUAL
 MEMBERS OF THE STATE
 BOARD OF MEDICINE, in their
 official capacity; THE INDIVIDUAL
 MEMBERS OF THE STATE
 BOARD OF NURSING, in their
 official capacity,

       Defendants.


                             INTRODUCTION

     Pending before the Court are Defendants’ Motion to Compel Discovery

(Dkt. 78), Motion to Amend Scheduling Order (Dkt. 79), and Motion to Amend


ORDER – 1
       Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 2 of 12




Stipulated Protective Order (Dkt. 80). For the reasons that follow, the Court will

deny the Motion to Compel, grant the Motion to Amend Scheduling Order, and

will enter an order denying the Motion to Amend Stipulated Protective Order

consistent with the Court’s previous ruling.

                       PROCEDURAL BACKGROUND

      The Court held a hearing on the motions on April 17, 2020. During the

hearing, and for the reasons stated on the record, the Court denied the Motion to

Amend Stipulated Protective Order. The Court also denied, in part, a single issue

in the Motion to Compel—Defendants’ request that the Court overrule Plaintiffs’

objection to Interrogatory No. 18. See Dkt. 78 at 2. Defendants sought information

responsive to Interrogatory No. 18 from 2015 forward. The Court denied that

request and ordered Plaintiffs produce information responsive from one year

previous to the filing of the Complaint forward.

      Provided the foregoing, two issues remain pending for the Court’s

determination. First, Defendants’ Motion to Amend the Scheduling Order, which

asks the Court to enter an order to increase the Defendants’ fact-witness deposition

limit to 12 to allow Defendants to depose all providing physicians. Motion to

Amend Sch. Ord., Dkt. 79; see also Sch. Order, Dkt. 71. Second, Defendants’

Motion to Compel, which seeks an order from the Court compelling Plaintiffs to

specifically and categorically disclose women in Idaho who have experienced the



ORDER – 2
       Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 3 of 12




burdens alleged by Plaintiffs in the Complaint. Memorandum in Support of Motion

to Amend Sch. Order, Motion to Compel, Dkt. 81 at 4–6. The Court will analyze

the two issues below.

                            STANDARD OF REVIEW

1.    Motions to Compel Discovery

      Discovery is permitted “regarding any nonprivileged matter that is relevant

to any party’s claim or defense.” Fed. R. Civ. P. 26(b)(1). Relevant information

“need not be admissible in evidence to be discoverable.” Id. A party may move for

an order compelling a discovery response pursuant to Federal Rule of Civil

Procedure 37(a)(3)(B). However, such motion may not be made unless the movant

has in good faith conferred, or attempted to confer, with the party allegedly failing

to answer, disclose or respond. Id. at 37(a)(1); Idaho Local Civ. R. 37.1.

      If the motion is granted, the Court must, after opportunity for hearing, order

the party whose conduct resulted in the motion, or attorney advising the conduct,

or both, to pay the reasonable attorney’s fees of the movant. Id. at 37(a)(5)(A).

However, the Court must not make such order for fees if the moving party filed the

motion before making a good faith effort to obtain disclosure without court

intervention, the nondisclosure was substantially justified, or, other circumstances

would make the award of fees unjust. Id. at 37(a)(5)(A)(i-ii). If the motion is

denied, the court may issue a protective order, and must, after providing an



ORDER – 3
       Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 4 of 12




opportunity for hearing, order the moving party, or attorney, or both, to pay the

opposing party reasonable expenses including in opposing the motion. Id. at

37(a)(5)(B). The Court must not order such payment if the motion to compel was

substantially justified, or other circumstances make the award of fees unjust. Id.

                                   DISCUSSION

      The resolution of the pending discovery dispute is intrinsically linked to the

nature of the claims alleged in this case and the type of factual allegations asserted

to support them. Plaintiffs Planned Parenthood of the Great Northwest and

Hawaiian Islands (“Planned Parenthood”) and Mary Stark, a nurse practitioner

licensed to practice advanced nursing in Idaho, Washington, and Oregon, on behalf

of herself and her patients, brought a civil rights lawsuit under 42 U.S.C. § 1983

claiming an Idaho statute that makes it unlawful for any person other than a

physician to perform an abortion violates the Constitution of the United States of

America. Plaintiffs allege Idaho’s “Physician-Only Law” violates their patients’

rights to liberty and privacy as guaranteed by the Due Process Clause of the

Fourteenth Amendment. They also argue the law violates equal protection rights of

patients and Advanced Practice Clinicians (APCs), like Ms. Stark, under the

Fourteenth Amendment’s Equal Protection Clause.

      Plaintiffs intend to offer two types of evidence to prove their undue burden

claims: quantitative and qualitative. The quantitative evidence will primarily come



ORDER – 4
        Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 5 of 12




from experts who rely on a broad base of research, statistics, and analysis to form

their opinions. Plaintiffs’ 30(b)(6) designee will also provide quantitative

information. The qualitative evidence will come from Planned Parenthood

providers. Physicians will give qualitative information such as whether any of their

patients have had to conceal an abortion from a violent partner. The primary thrust

of Defendants’ motions is to obtain information to test the portions of Plaintiffs’

claims that rely on or are supported by the qualitative evidence about patients.

      The Complaint includes the following examples of factual allegations

supported, at least in part, by qualitative-type information. Plaintiffs allege that

their “poor and low-income patients routinely tell them that they do not have, and

will not be able to find, the money they need to travel to a clinic in a different city

for abortion care.” Compl. Dkt. 1 at 18–19. And that, due to the need to travel to

clinics with a physician, “some women are simply unable to obtain an abortion and

are instead forced to carry a pregnancy to term against their will.” Id. at 19.

Plaintiffs allege further that, “Plaintiffs’ patients frequently implore them for an

appointment on a different day of the week. Unfortunately, because of the

Physician-Only Law, Plaintiffs are rarely able to accommodate these requests.”

Additionally, Plaintiffs allege it is common for patients estimated to be at 9 weeks

of pregnancy or more to contact Planned Parenthood seeking a medication

abortion, but for the patients to “live[ ] over an hour from the nearest provider of



ORDER – 5
           Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 6 of 12




aspiration abortion care.” Id. at 21. Plaintiffs allege that, because of scheduling

delays caused primarily by Idaho’s physician only law, “these patients are often

pushed past the limit for medication abortion and have to travel to Meridian, or

wait up to two weeks in Twin Falls, to obtain an aspiration abortion instead—or

forgo abortion care all together.” Id.

1.    Physician Depositions

      Defendants assert they “should be allowed to depose the seven physicians

who perform abortions for Planned Parenthood to test the allegations in the

Complaint, for example, that the scheduling delays are caused primarily by Idaho’s

physician only law, and not by other factors.” Dkt. 74-1 at 1. Defendants argue

each physicians’ testimony is relevant to the key issues of whether any undue

burden to access to early abortion services currently exists for Idaho women. Id. at

2. Defendants specifically assert that, the physicians are the only parties who “can

provide: (1) their personal knowledge of the alleged burdens currently experienced

by […] individual patients; and (2) first-hand testimony about abortion access in

Idaho, as it specifically related to [the] individual [physician’s] circumstances. Dkt.

81 at 3.

      Plaintiffs oppose the motion for three reasons. First, they argue Defendants

will have the ability to test Plaintiffs’ factual allegations because Planned

Parenthood has agreed to a Rule 30(b)(6) deposition, as well as to make available



ORDER – 6
       Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 7 of 12




for deposition three individual physicians, which would include the two physicians

who are employed Planned Parenthood and one physician, as a representative

exemplar, who works with Planned Parenthood on a contract, per diem basis. Dkt.

76 at 2. Plaintiffs argue any additional depositions would be cumulative and thus

inconsistent with the scope and proportion limitations under Federal Rule of Civil

Procedure 26(b)(1). Id. Lastly, Plaintiffs assert the current COVID-19 pandemic

warrants additional scrutiny of Defendants’ alleged need to depose every physician

because the physicians “provide a variety of important, time sensitive health

services to their patients beyond abortion service.” Id.

      Because the Court’s resolution of the dispute regarding the number of

permitted physician depositions is necessarily tied to the parties’ dispute regarding

the contention interrogatories, the Court will turn to that topic.

2.    Contention Interrogatories

      Defendants have asked both Planned Parenthood and Mary Stark a set of

identical interrogatories, which are Interrogatories Nos. 9-14, 16-17, and 19 to

Planned Parenthood and Interrogatories Nos. 8-15 and 17 to Mary Stark. For ease

of analysis, the Court will detail only the interrogatories served on Planned

Parenthood. The interrogatories are set forth by Defendants as follows:




ORDER – 7
      Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 8 of 12




ORDER – 8
         Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 9 of 12




Dkt. 81 at 8-13.

        Plaintiffs’ primary objections to the interrogatories are that: the

 interrogatories call for unlawful disclosure of patient identities, the interrogatories

 call for facts as to each identifiable woman, and as written, the interrogatories are

 not reasonably calculated to lead to the identification of admissible evidence. See

 Dkt. 76.

        In response, Defendants argue Plaintiffs’ objections should be overruled and

 Plaintiffs should be compelled to: “(1) separately assert as to each interrogatory

 whether they know of any specific women whose circumstances support the

 request; and (2) produce these facts pursuant to the ‘de-identification’

 proposal…for the time period of 2015 through the present.” Dkt. 81 at 4.

        Each at-issue interrogatory asks Plaintiffs to “[i]identify all women …” that

 fit the factual scenarios set forth by Defendants. Id. at 8-13. However, Defendants

 assert that the interrogatories “asked Plaintiffs to disclose ‘de-identified’ women in

 Idaho who have experienced the burdens alleged by Plaintiffs in the Complaint.”

 Id. at 4. To this end, Defendants assert the interrogatories are seeking to

 “understand how many women experienced the alleged burdens in Idaho and




 ORDER – 9
       Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 10 of 12




whether those alleged burdens are actually caused by the physician-only laws or by

some other variable.” Id. (emphasis added).

      In meet and confer discussions, Plaintiffs offered to produce aggregate data

derived from patient-specific files—such as fetal gestational age and patient

income levels. Defendants argue that the data will not permit them to test “which

of these women”

      (1) had to arrange and pay for childcare or transportation or take time
      off work to obtain their abortion because of the laws at issue; (2) had to
      travel long distances to obtain their abortions because of the laws at
      issue; (3) were prevented from obtaining a medication abortion because
      of the laws at issue;(4) were prevented from obtaining an aspiration
      abortion because of the laws at issue; (5) experienced having their
      safety endangered because of the laws at issue; nor(6) had delayed
      abortions because of the laws at issue.
Id.

      Plaintiffs assert, however, that that type of qualitative information is not

contained in patient files, and is only available through individual physician

providers.

      When the Court considers the fact that physician testimony is the source of

the qualitative information sought by Defendants in the interrogatories, and

considers the manner in which Plaintiffs intend to use the qualitative evidence –

i.e. through physician testimony – the Court finds that allowing Defendants to

conduct depositions of each of the seven providing physicians is proportional to

the needs of the case. However, also considering these factors, the Court will not


ORDER – 10
        Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 11 of 12




compel Plaintiffs to provide additional responses to Defendants’ Interrogatories

Nos. 9-14, 16-17, and 19 to Planned Parenthood and Interrogatories Nos. 8-15 and

17 to Mary Stark.

       Plaintiffs’ objection to the additional depositions on the basis of the impact

of the COVID-19 pandemic is well taken. The heightened demands on medical

professionals, combined with the need for ongoing distancing measures, must be

considered in the context of Rule 1’s mandate to the Court and the parties.1

Considering the foregoing, the Court will require counsel to arrange for deposition

by video if requested by any physician deponent. The Court also finds Defendants’

Motion to Compel and corollary motions were substantially justified and therefore

will not order the payment of fees. See Fed. R. Civ. P. 37(a)(5)(B).

                                           ORDER

           IT IS ORDERED:

           1. Defendants’ Motion to Compel (Dkt. 78) is DENIED.

           2. Defendants’ Motion to Amend Scheduling Order (Dkt. 79), is
              GRANTED. The Scheduling Order is hereby amended to permit
              Defendants to take the depositions of twelve (12) fact witnesses,
              seven (7) of which are the providing physicians, as set forth in the
              memorandum above.




       1
        Rule 1 provides that, the Federal Rules of Civil Procedure, “should be construed,
administered, and employed by the court and the parties to secure the just, speedy, and
inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1.



ORDER – 11
     Case 1:18-cv-00555-BLW Document 84 Filed 04/24/20 Page 12 of 12




        3. Defendants’ Motion to Amend Stipulated Protective Order (Dkt.
           80) is DENIED for the reasons stated on the record during the April
           17, 2020 hearing.

                                                    DATED: April 24, 2020


                                                    75.�w�
                                                    B. Lynn Winmill
                                                    United States District Judge




ORDER – 12
